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              UNITED STATES COURT OF INTERNATIONAL TRADE


AB SPECIALTY SILCONES LLC,
                      Plaintiff,

v.                                                CASE NO.    25-00099

UNITED STATES OF AMERICA,

                                 Defendant.


                                         COMPLAINT

          Pursuant to Rule 7(a)(1) of the Rules of the U.S. Court of International Trade,

Plaintiff AB SPECIALTY SILICONES LLC (“AB”) hereby sues Defendant United

States of America in this action, and alleges the following:

                                        JURISDICTION

     1.      This Court has exclusive jurisdiction of this action pursuant to 28 U.S.C.

          Sec. 1581(a) as it is commenced under 19 U.S.C. Sec. 1515(a) to contest, in

          whole or in part, the denial of a protest filed with U.S. Customs and Border

          Protection, (“CBP”) pursuant to 19 U.S.C. Sec. 1514(a). This action is timely

          filed within 180 days of the denial of the protest on April 24, 2025 for Entry

          No. F2370115909 that was the subject of the protest pursuant to 28 U.S.C.

          Sec. 2636(a)(1).

     2.      Plaintiff AB has standing in this action pursuant to 28 U.S.C. Sec. 2631(a)

          as it was the party which filed the protest, No. 3901-20-116087, denied by


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     CBP and was the importer of record for the entry that is the subject of this

     action. Plaintiff filed timely filed protest No. 3901-20-116087 with CBP

     within 180 days of liquidation of the entry.

3.      All liquidated duties for the entry that is the subject of this action have

     been paid by AB pursuant to 28 U.S.C. Sec. 2637(a).

4.      All conditions precedent to bringing this action have been performed or

     have been excused. All administrative remedies have been exhausted.

                                        FACTS

5.      AB is a U.S. manufacturer and distributor of specialty silicone chemicals

     based in Waukegan, Illinois. Its core brand is Andisil®, serving industries

     such as personal care, roof coatings, chemical manufacturing, dental and

     medical, mold making, and a variety of other industries.

6.      The entry that is the subject of this action consisted of various silicon

     compounds used in the various industries alleged in paragraph 5 above. The

     merchandise arrived at the Port of Chicago, Illinois, No. 3901, between on or

     about June 15, 2019.

7.      The entry was liquidated by CBP on April 24, 2020 in HTSUSA

     subheading 2931.90.9010. AB disputed this HTSUSA classification by CBP,

     claiming that the merchandise should be classified to either HTSUSA

     2931.90.9051 or HTSUSA 3910.00.00. AB timely filed its protest on July 23,



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      2020. Further review of Protest No. 3901-20-116087 was properly accorded

      pursuant to 19 C.F.R. Sec. 174.24(a) because the decision against which the

      protest was filed was alleged to be inconsistent with certain rulings made by

      CBP.

8.       In its April 24, 2025 protest decision, CBP stated that the protest was

      “denied in full as per HQ ruling H318773”.

9.       The differences in classification from the classification used by AB and the

      one decided by CBP at liquidation are material, in that merchandise classified

      under HTSUSA 2931.90.9010 was subject to a 25% tariff under Section 301.

      In addition, merchandise classified under HTSUSA 3910.00.0000 was

      excluded from tariffs under Section 301 at the time of entry and is subject to

      a tariff rate of 3%. The exclusion ended in October 2020. Merchandise

      classified as 2931.90.9051 is subject to tariffs of 3.7% and excluded from

      Section 301 tariffs.

10.      In the protest, AB stated that the merchandise was an organo-silicon

      compound, and therefore, classified under HTSUSA 2931.90.9051 and/or

      HTSUSA 3910.00.0000 for being silicones in primary form. Materials

      classified as HTSUSA 2931.90.9051 are excluded from Section 301 tariffs.

11.      In decision HQ H318773, CBP stated that at the 4-digit headings level,

      heading 2931, HTSUS (other organic compounds) and heading 3910 HTSUS



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      (silicones) were implicated. Under heading 2931 HTSUS, two possible ten-

      digit subheadings were presented: subheading 2931.90.9010, providing for

      “organo-silicon compounds” and subheading 2931.990.9051 HTSUS,

      “other”.

12.      CBP found in decision HQ H318773 that if the imported products are

      separate, chemically defined compounds from Chapter 29 HTSUS, they are

      precluded from classification as silicones under heading 3910.

13.      CBP further stated in that decision that the imported products were organic

      compounds, and that to come under heading 2910, Note 1, they must be

      chemically defined. CBP found that only one compound of all those imported,

      Phenyl Trimethicone was not chemically defined, and therefore was classified

      in heading 3910. CBP stated that the other eight products were all chemically

      defined compounds, and therefore are classified in heading 2910, HTSUS.

14.      According to CBP in decision HQ H318773, y-methacryloxy propyl

      trimethoxy     silane,    N-beta(amino       ethyl)-gamma-amino          propyl

      trimethoxysilane, y-aminopropyl triethoxy silane, vinyl trimethoxy silane,

      divinyltetramethyldisiloxane, vinyl tris(methylethylketoxime) silane, and

      vinyl triethoxy silane are classified under HTSUS 2931.90.9010.

15.      AB Specialty Silicones LLC maintains that the classification of the

      compounds at issue in this case by CBP as HTSUS 2931.90.9010 is



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      inconsistent with various prior CBP rulings, including NY N302530, HQ

      083986, NY 850884, NY G86540, and HQ H192517.

16.      CBP’s decision on AB Specialty Silicones LLC’s protest, and its decision

      HQ H318773 were premised on certain errors of fact. These include, among

      others:

a.       That the compounds in question have one Si-O-Si linkage, when they in

      fact have none;

b.       CBP’s          decision       HQ        H318773          stated       that

      tetravinyltetramethylcyclotetrasiloxane   and   octamethylcyclotetrasiloxane

      should be classified differently, but they should be classified with the same

      HTSUS number as there are no chemical differences to justify different

      classification treatment.

c.       CBP in that decision stated that the only difference between the

      compounds at issue and those which was classified as 2931.90.9010 in NY

      N302530 is that the compounds at issue contain Nitrogen atoms. In fact, the

      compounds at issue are made up of Si, O, C, H, N and S atoms rendering the

      compounds materially different. Compounds with no Si-O-Si bonds, no

      matter the type of atoms, should be classified as HTSUS 2931.90.9051.

d.       CBP’s decision is in error in that it states that the compounds contain a

      CH2 group, methylene, when it is in fact a CH2CH group, vinyl.



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   17.      Taken together, these factual errors, among others, resulted in a legal error

         by CBP as to the tariff classification of the subject compounds.

                                       COUNT ONE
                             DENIAL OF TIMELY FILED PROTEST

   18.      Plaintiff realleges and incorporates pars. 1-17 of this Complaint as if fully

         set forth herein.

   19.      Plaintiff has standing and filed a timely protest of the liquidation of the 90

         entries at issue in this case and listed on the Summons.

   20.      CBP’s decision dated April 24, 2025 denying Plaintiff’s protest

         misclassifies the entry at issue in this case resulting in higher duties being paid

         by Plaintiff. The duties payable should 3.7% for HTSUSA classification

         2910.90.9051 or 3% for HTSUSA classification 3910.00.0000.

   21.      Plaintiff has paid all liquidated duties as a condition precedent to bringing

         this action.

   22.      Plaintiff has overcome the presumption of correctness of CBP’s tariff

         classification pursuant to 28 U.S.C. Sec. 2639(a)(1).

   WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in

its favor and to direct CBP to reliquidate the subject entry to reclassify the imported

items as either HTSUSA 2931.90.9051, 3.7%, or 3910.00.0000, 3%, and to refund

the duties to Plaintiff with appropriate interest thereon as permitted by law and for

such further relief this Court deems just and proper.


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Dated: June 4, 2025
                                            Respectfully Submitted,

                                            BECERRA LAW, P.A.


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